                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

 UNITED STATES OF AMERICA,                    )
                                              )
              Plaintiff,                      )
                                              )
 v.                                           )      No.:   3:10-CR-159-TAV-CCS-7
                                              )
 CHRISTOPHER RAY MASON,                       )
                                              )
              Defendant.                      )


                      MEMORANDUM OPINION AND ORDER

       This criminal case is before the Court on the defendant’s motions for a sentence

 reduction [Docs. 654, 709]. In the defendant’s motions, the defendant requests that the

 Court resentence him pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with

 Amendment 782 and Amendment 788 to the United States Sentencing Guidelines

 Manual.    The government has responded [Doc. 710], and the defendant filed a

 supplemental to his motion [Doc. 712]. The government defers to the Court’s discretion

 whether and to what extent to grant any such reduction, subject to the limitations of 18

 U.S.C. § 3582(c)(2) and section 1B1.10 of the United States Sentencing Guidelines

 Manual.

 I.    Standard of Review

       “Federal courts are forbidden, as a general matter, to modify a term of

 imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

 exceptions.” Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation

 and quotation marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):



Case 3:10-cr-00159-TAV-DCP       Document 714 Filed 10/11/16         Page 1 of 7    PageID
                                       #: 4392
       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission . . . , the court may reduce the term
       of imprisonment, after considering the factors set forth in section 3553(a) to
       the extent that they are applicable, if such a reduction is consistent with
       applicable policy statements issued by the Sentencing Commission.

 The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

 requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

 to a term of imprisonment based on a sentencing range that has subsequently been

 lowered by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758

 (6th Cir. 2013) (internal quotation marks and citation omitted). Second, “such reduction

 [must be] consistent with applicable policy statements issued by the Sentencing

 Commission.” Id. (internal quotation marks omitted). If the reviewing court determines

 that the defendant is eligible for a sentence reduction, then “[t]he court may then

 ‘consider whether the authorized reduction is warranted, either in whole or in part,

 according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

 946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

       In determining whether a defendant has been sentenced to a term of imprisonment

 based on a sentencing range that has subsequently been lowered by the Sentencing

 Commission, the Court must first determine “the amended guideline range that would

 have been applicable to the defendant had the relevant amendment been in effect at the

 time of the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and

 citation omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1). Other

 than substituting Amendment 782 for the corresponding provision applicable when the
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Case 3:10-cr-00159-TAV-DCP       Document 714 Filed 10/11/16          Page 2 of 7       PageID
                                       #: 4393
 defendant was originally sentenced, the Court “shall leave all other guideline application

 decisions unaffected.” Id. And the Court “shall not” reduce a defendant’s term of

 imprisonment to a term “less than the minimum of the amended guideline range,” nor to a

 term “less than the term of imprisonment the defendant has already served.” Id. §

 1B1.10(b)(2)(A), (C). Section 1B1.10 provides one exception to the rule that a defendant

 may not receive a sentence below the amended guideline range—namely, if the defendant

 originally received a below-guideline sentence “pursuant to a government motion to

 reflect the defendant’s substantial assistance to authorities.” U.S. Sentencing Guidelines

 § 1B1.10(b)(2)(B). In such cases, the Court may grant “a reduction comparably less than

 the amended guideline range.” Id.

        In addition to these limits, section 1B1.10 states that a court must also consider the

 § 3553 factors and the danger to the public created by any reduction in a defendant’s

 sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s post-sentencing

 conduct. Id.

 II.    Factual Background

        The defendant was convicted of conspiring to distribute and possess with intent to

 distribute various controlled substances, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C),

 (b)(2), and 846 [Doc. 626].        At the time of sentencing, the defendant was held

 responsible for a quantity of pills equivalent to 1000 kilograms of marijuana [Doc. 585 ¶¶

 28, 65]. Given the amount of drugs for which the defendant was held responsible, the

 defendant’s base offense level was 32 [Id. ¶¶ 65].            After a two-level firearms

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Case 3:10-cr-00159-TAV-DCP        Document 714 Filed 10/11/16           Page 3 of 7    PageID
                                        #: 4394
 enhancement, a three-level role enhancement, and a three-level reduction for acceptance

 of responsibility, his total offense level was 34 [Id. ¶¶ 66, 68, 71, 73]. Given the

 defendant’s criminal history category of IV, the defendant’s applicable guideline range

 was 210 to 262 months’ imprisonment.

        Before sentencing, the United States filed a motion for downward departure in

 light of the defendant’s substantial assistance [Doc. 626]. The Court granted that motion

 and sentenced the defendant to 132 months’ imprisonment, which is 37 percent below the

 guidelines range [Id.].    According to the government, the defendant is presently

 scheduled for release on October 12, 2020 [Doc. 710 p. 3].

 III.   Analysis

        Amendment 782 to the Guidelines, which became effective on November 1, 2014,

 revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels

 the offense levels assigned to the drug quantities described in section 2D1.1. U.S.

 Sentencing Guidelines Manual App. C, amend. 782.             Amendment 782 also makes

 corresponding changes to section 2D1.11. Amendment 788, which became effective on

 November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

 Guidelines Manual App. C, amend. 788.

        Applying Amendment 782, the defendant’s revised base offense level is 30, and

 affording the defendant the same adjustments the defendant originally received, the

 defendant’s new total offense level is 32.      U.S. Sentencing Guidelines Manual §

 1B1.10(b)(1). A total offense level of 32 and a criminal history category of IV results in

                                             4


Case 3:10-cr-00159-TAV-DCP       Document 714 Filed 10/11/16         Page 4 of 7    PageID
                                       #: 4395
 an amended guideline range of 168 to 210 months’ imprisonment. Thus, the defendant

 was sentenced to a term of imprisonment based on a sentencing range that has

 subsequently been lowered by the Sentencing Commission.

        Next, the Court must determine whether a sentence reduction is consistent with

 applicable policy statements issued by the Sentencing Commission. See U.S. Sentencing

 Guidelines Manual § 1B1.10.        “[T]o satisfy the second requirement, a guidelines

 amendment must have had the effect of lowering the defendant’s applicable guideline

 range.” Riley, 726 F.3d at 758 (internal quotation marks and citations omitted). As

 discussed, that is the case here. And it would be consistent with the applicable policy

 statements to sentence the defendant below the “minimum of the amended guideline

 range” because the defendant previously received a below-guidelines range sentence

 “pursuant to a government motion to reflect the defendant’s substantial assistance to

 authorities.” U.S. Sentencing Guidelines Manual § 1B1.10(b)(2)(A), (B).

        The Court will now consider the § 3553(a) factors in determining whether and to

 what extent the defendant’s sentence may be reduced. As an initial matter, the Court

 determines that factors similar to the ones that applied at the defendant’s initial

 sentencing also apply at this time. Even so, in regard to these factors and in the context

 of the instant motion, the Court has considered the nature and circumstances of the

 defendant’s offense(s) and the defendant’s history and characteristics.

        The Court has also considered the need for the sentence imposed to reflect the

 seriousness of the offense, to promote respect for the law, to provide just punishment for

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Case 3:10-cr-00159-TAV-DCP        Document 714 Filed 10/11/16          Page 5 of 7   PageID
                                        #: 4396
 the offense, to afford adequate deterrence, to protect the public from further crimes of the

 defendant, and to provide the defendant with needed education and training, medical

 care, or other correctional treatment.1 Further, the Court has considered the kinds of

 sentences available and the sentencing range, the need to avoid unwarranted disparities,

 and the need to provide restitution to any victims. See 18 U.S.C. § 3553(a). And the

 Court has considered the danger to the public as the result of any reduction in the

 defendant’s sentence, the seriousness of the defendant’s offenses, and the need to protect

 the public. See U.S. Sentencing Guidelines Manual § 1B1.10, cmt. n.1(B)(ii).

        The government informs the Court that the defendant was sanctioned in May of

 2015 for using drugs, but that it has no other information to present in opposition to a

 sentence reduction under Amendment 782. In his supplement, the defendant notes that

 since this infraction, he has completed a freedom from drugs course and is currently

 enrolled in a commitment for change class. The government states that it defers to the

 Court’s discretion whether to grant a reduction in the defendant’s sentence, and, if so, to

 what extent.   It informs the Court that a 37-percent reduction below the amended

 guidelines range yields a term as low as 106 months’ imprisonment.

        Accordingly, after considering section 1B1.10 and the relevant § 3553(a) factors,

 the Court finds a reduction in the defendant’s sentence to be appropriate. The Court will

 reduce the defendant’s sentence in accordance with the amended guidelines range and by


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          The Court, however, is not intending to, and is not, imposing or lengthening the
 defendant’s sentence to enable the defendant to complete a treatment program or otherwise
 promote rehabilitation. See generally Tapia v. United States, 131 S. Ct. 2382 (2011).
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Case 3:10-cr-00159-TAV-DCP        Document 714 Filed 10/11/16          Page 6 of 7    PageID
                                        #: 4397
 an amount “comparably less than the amended guideline range.”            U.S. Sentencing

 Guidelines Manual § 1B1.10(b)(2)(B).        In making this determination, the Court is

 particularly influenced by the changes in offense levels affected by Amendment 782.

 The Court has also taken into consideration the risk the defendant poses to public safety,

 the nature and circumstances of the defendant’s offense(s), the defendant’s personal

 characteristics, criminal history, and post-sentencing conduct.

 IV.    Conclusion

        For the reasons stated herein, the defendant’s motions [Docs. 654, 709] are

 GRANTED and the defendant’s sentence is REDUCED to 106 months’ imprisonment.

 If this sentence is less than the amount of time the defendant has already served, the

 sentence shall be reduced to a “time served” sentence. U.S. Sentencing Guidelines

 Manual § 1B1.10(b)(2)(C).

        Except as otherwise provided in this order, all provisions of the judgment dated

 July 31, 2014 [Doc. 626], shall remain in effect.

        IT IS SO ORDERED.


                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE




                                              7


Case 3:10-cr-00159-TAV-DCP        Document 714 Filed 10/11/16        Page 7 of 7    PageID
                                        #: 4398
